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                        UNITED STATES DISTRICT COURT

                       EASTERN DISTRICT OF LOUISIANA




HIRAN RODRIGUEZ,                                CIVIL ACTION
                                                N0.2:25-cv-00197
PLAINTIFF, appearing Pro Se and Sui Juris
                                                SECTION A
                                                JUDGE JAY C.ZAINEY

V.                                              DIVISION 2
                                                MAGISTRATE JUDGE
                                                DONNA PHILLIPS CURRAULT
META PLATFORMS, INC., ETAL.

DEFENDANTS.                                     JURY TRIAL REQUESTED




       PLAINTIFF’S MOTION TO COMPEL DISCLOSURE OF ENTERPRISE

SURVEILLANCE INFRASTRUCTURE. IDENTIFY AND TERMINATE TARGETED

       OPERATORS. AND FOR COMPREHENSIVE RETIEF FOR ONGOING

         HARASSMENT, RETALIATION. AND CONSTITUTIONAL INJURY
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NOW INTO COURT, through undersigned, comes Plaintiff, Hiran Rodriguez, who respectfully

moves this Honorable Court for emergency relief compelling disclosure of the covert

surveillance system known as the “shadow stream,” the immediate identification and termination

of all operators who used publicly regulated or enterprise-integ rated assets to stalk, defame, or

intimidate Plaintiff, and for comprehensive relief under Rules 26, 37, and 60 of the Federal Rules

of Civil Procedure, and applicable constitutional and statutory authorities.




This motion is necessitated by the repeated use of trains, ambulances, aircraft, and software SDK

infrastmcture across multiple named Defendants to facilitate psychological warfare, retaliation.

and surveillance of Plaintiff. The operators of these assets remain shielded behind corporate and

government intermediaries. Plaintiff now demands disclosure, accountability, and termination of

these individuals—^along with compensatory and punitive relief




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I. INTRODUCTION AND SUMMARY




Plaintiff Hiran Rodriguez brings this motion seeking;




  1. Immediate disclosure of the shadow stream surveillance infrastmcture used by Defendants


       including Meta Platforms, Inc., LCMC Healthcare Partners, Kansas City Southern Railway,

       and others;


  2.   Judicially compelled identification and termination of Doe Defendants involved in

       operational use of ambulances, trains, and aircraft against Plaintiff;


  3.   Enforcement of all outstanding preservation notices and production of dispatch, telemetry.

       and surveillance logs;


  4.   Entry of comprehensive relief for constitutional violations, intentional infliction of

       emotional distress, and coordinated enterprise retaliation.




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Defendants’ continued use of this surveillance architecture has resulted in documented noise

assaults, proximity harassment, coordinated defamation, and ongoing psychological warfare, as

outlined in Exhibits A, E-G, and I.




II. PATTERN OF ENTERPRISE SURVEILLANCE AND HARASSMENT




Plaintiff has documented a persistent, coordinated campaign of surveillance, harassment, and

proximity targeting involving the use of pubUc service vehicles, commercial transport systems.

aircraft, and SDK-based application telemetry. These acts are not isolated, nor the result of mere

coincidence. They reflect an integrated infrastructure—herein referred to as the “shadow stream’

  -used by Defendants across domains to track, monitor, and retaliate against Plaintiff.




This infrastructure has been deployed by multiple named Defendants, including but not limited

to:




  •   LCMC Healthcare Partners, EEC, through the unauthorized use of Ambulance Unit #156,

      recorded and photographed engaging in proximity surveillance near Plaintiff’s location on




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      April 19, 2025 at 4:43 PM CDT. No medical emergency was evident; the unit made

      multiple slow passes near known Plaintiff pathways. See EXHIBIT E-2.


      Kansas City Southern Railway Company, through its operation of Engine #5673, confirmed

      via timestamped video and photographic evidence to have engaged in nighttime proximity

      harassment near Plaintiff’s residence on March 12, 2025 at 9:28 PM CDT. The presence of

      the engine was not incidentally scheduled—it was part of a pattern of retaliatory rail usage

      documented in Rec. Doc. 80 and supplemented by forensic EXHIBIT G-1.


      LCMC Health helicopter assets and private aircraft operated by unknown parties were

      documented performing low-altitude, circling, or sudden-flyby activity above or near

      Plaintiff’s location. Tail numbers include N16362 and MOJO30, with verified timestamps


      from April 16, 2025. These incidents are recorded in EXHIBIT I and correlate with known

      court activity and evidence production events.


      Meta Platforms, Inc. (including Facebook and Instagram), through persistent SDK

      surveillance embedded in Plaintiff’s mobile applications, utilizing APIs and endpoints

      including graph.facebook.com, rupload.facebook.com, and edge-mqtt.facebook.com.

      Session logs confirm continuous outbound connections, behavioral telemetry, and remote


: C
      audio/video transmission patterns without user initiation. See forensic reports in EXHIBITS

      D-1 through D-4.




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  •   Additional entities, including Third District Volunteer Fire Department, Jefferson Parish

      Sheriff’s Office, and X Corp., are imphcated through ongoing proximity harassment using

      sirens, vehicle passes, and digital manipulation coinciding with court filing timelines.




These acts are not isolated incidents, but manifestations of a shared access architecture and

coordinated data pool allowing Defendants, their agents, or unknown third-party contractors to:


      Access Plaintiff’s real-time location, behavior, and communications;


      Appear with uimatural precision at key life moments to intimidate, disorient, or retahate;


      Leverage official-looking assets (ambulances, trains, helicopters) to cloak misconduct

      behind institutional legitimacy;


      Participate in a cross-entity enterprise surveillance system used to suppress, shame, and

      destroy.




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This conduct, taken as a whole, establishes a pattern of civil conspiracy, color of law abuse, and

electronic intrusion that continues despite preservation demands and court filings




in. IDENTIFIED INCIDENTS AND DOE DEFENDANTS




Plaintiff formally designates the following John Doe Defendants as parties whose identities must

be disclosed pursuant to Rule 26(a), Rule 37(a), and in furtherance of injunctive relief and

monetary damages. Each of these individuals acted in furtherance of a coordinated enterprise

surveillance system that resulted in actionable harm.




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John Doe Defendant #1



- LCMC Ambulance Operator (Unit #156)




The driver or operator of LCMC Health Ambulance Unit #156 observed on April 19, 2025, at

4:43 PM CDT, executing repeated proximity passes near Plaintiff at or near an Acura dealership.

No medical emergency or patient contact was observed. The vehicle’s actions were coordinated.

non-random, and retaliatory. See EXHIBIT E-2.




John Doe Defendant #2




- Additional LCMC Ambulance Operator(s)




One or more unidentified personnel affiliated with LCMC Health EMS involved in similar

proximity harassment incidents documented in video surveillance between March and April

2025. Repeated siren patterns, pathing, and lingering behavior were observed consistent with

targeted behavioral intimidation.




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John Doe Defendant #3




- Train Operator (CN Engine #5673)




The primary operator of Canadian National Engine #5673 confirmed to be engaged in nighttime

proximity activity near Plaintiff’s residence on March 12, 2025, at 9:28 PM CDT. Evidence

includes video, photographic stills, and vehicle identification numbers. See EXHIBIT G-I and

Rec. Doc. 80.




John Doe Defendant #4




- CN Yard Dispatcher / Route Controller




An individual responsible for issuing or authorizing the route taken by Engine #5673. This route

did not correspond to normal operational timing and was executed in a manner consistent with

retaliatory proximity harassment. The operator’s presence coincided with Plaintiff’s known legal

filings and digital activities.




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John Doe Defendant #S




- Aircraft Operator (N16362)




The pilot or responsible party operating tail number N16362, captured on April 16, 2025,

executing a low-altitude flyover during a sensitive evidentiary timeframe. See EXHIBIT I.




John Doe Defendant #6




-Aircraft Operator (Callsign MOJO30)




An unidentified aircraft or operator captured on the same day as Doe #5, performing a follow-up

pass over Plaintiff’s location, within hours of the N16362 flyby. Suspected retaliatory

coordination.




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John Doe Defendant #7




- Digital Surveillance Engineer / LiveOps Operator (Meta)




An unknown agent acting within or on behalf of Meta Platforms, Inc., who maintained, accessed,

or authorized the persistent telemetry collection from Plaintiff’s devices using Meta SDK or

LiveOps infrastructure. Evidence includes WebSocket logs, HAR captures, endpoint persistence.

and unauthorized outbound video/audio triggers. See EXHIBITS D-I through D-4 and

EXHIBITS RVMP-0001 through RVMP-0002.




Each Doe Defendant is believed to have operated under or in conceit with named entities—

LCMC Health, CN/Kansas City Southern Railway, Meta Platforms, and others—through an

integrated enterprise-level system of behavioral targeting and psychological retaliation.




plaintiff reserves the right to amend the complaint to substitute actual names once disclosure is

compelled and production is complete. Relief is sought now to compel identity, terminate

employment, and issue preservation and production orders as required by Rule 37.




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IV. LEGAL BASIS FOR RELIEF AND COMPULSION OF DISCLOSURE




plaintiff is entitled to the disclosure of all identities, access systems, telemetry logs, and operator

records relevant to the above-documented incidents under the following controlling legal


authorities:




A. Rule 26(a)(1)(A) - Initial Disclosure of Individuals and Systems with Discoverable

Information




Defendants have failed to disclose the identity of individuals likely to have discoverable

information, including personnel operating ambulances, trains, aircraft, and SDK surveillance

systems, despite being on notice since at least March 25, 2025 via Rec. Doc. 108 and direct

preservation notices.




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B. Rule 37(a) - Motion to Compel Disclosure and Sanctions




plaintiff now moves to compel such disclosure. Rule 37(a)(3)(A) authorizes the Court to compel

identification of witnesses and production of electronic records. Given the coordinated refusal to

acknowledge the surveillance activities—including use of ambulances, aircraft, and real-time

telemetry systems—sanctions and immediate compliance orders are appropriate.




C. Rule 60(b)(3) and 60(d)(3) - Relief from Judgment and Fraud on the Court




Plaintiff reserves the right to seek vacatur of prior rulings, including Rec. Doc. 109, on the basis

of fraud, misrepresentation, and suppression of evidence. A coordinated effort to conceal the

shadow stream system and Defendant involvement has prejudiced Plaintiff and defrauded the

judicial process.




D. 42 U.S.C. § 1983 - Color of Law Surveillance, Retaliation, and Psychological Warfare




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The coordinated deployment of emergency vehicles, public transportation infrastructure, and

digital surveillance constitutes state-actor conduct under Monell v. Department ofSocial

Services, 436 U.S. 658 (1978). Where state-linked actors or private parties act jointly to violate

constitutional rights, § 1983 provides a direct cause of action.




E. RICO (18 U.S.C. § 1962), Wiretap Act (18 U.S.C. § 2511), Stored Communications Act

(18 U.S.C. § 2701)




The repeated and cross-domain nature of the surveillance—^includ ing SDK-level telemetry.

WebSocket streaming, and real-time geo-targeting—meets the criteria for pattem-of-practice

enterprise conduct, with each transmission constituting an independent violation under federal

privacy statutes.




F. Torture Victim Protection Act (TVPA)




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The use of surveillance infrastructure for psychological torment, targeted intimidation, and

reputational defamation constitutes actionable conduct under the TVPA, particularly where

institutional power is used to retaliate against a civilian through manipulation of emergency and

infrasfructure assets.




G. State Tort Claims - IIED, Invasion of Privacy, Defamation, Negligent Supervision




Under Louisiana Civil Code articles 2315-2316, Plaintiff states claims for intentional infliction

of emotional distress, invasion of seclusion, reputational damage, and systemic failure to

supervise operators acting with malice or indifference.


The legal framework mandates immediate action: the Court has authority to compel identity.

terminate involvement, enforce digital and physical boundaries, and order production of the

shadow stream infrastructure that Defendants have used to torment and monitor Plaintiff under


the veil of institutional legitimacy.




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V. PRAYER FOR RELIEF




WHEREFORE, Plaintiff Hiran Rodriguez, appearing sui juris, respectfully prays that this

Honorable Court grant the following relief:




  1. Order each named Defendant—including but not limited to LCMC Healthcare Partners,

     EEC, Kansas City Southern Railway Company, Meta Platforms, Inc., Third District

     Volunteer Fire Department, Jefferson Parish Sheriff’s Office, and X Corp.—^to produce.

     within ten (10) days:




         o   The full legal names, employee numbers, and employment status of each operator

             identified herein as John Doe Defendants #1 through #7;


         o   All dispatch logs, incident reports, GPS pathing, access logs, and sensor telemetry

             from:




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                  ■ Ambulance Unit #156 (April 19, 2025,4:43 PM CDT);


                  -   CN Engine #5673 (March 12, 2025, 9:12-9:28 PM CDT);


                  ■   Aircraft N16362 and MOJO30 (April 16, 2025);


                  •   All Facebook/Instagram SDK telemetry endpoints and recorded outbound

                      sessions tied to Plaintiff’s devices;




 2.   Compel full disclosure of the software, servers, routing infrastructure, and access

      permissions underlying the “shadow stream” surveillance system—defined as any shared

      enterprise-level data flow or monitoring system used to observe Plaintiffs real-world or

      digital behavior;


 3. Order the immediate termination of all Doe Defendants upon identification, including:




          o   LCMC ambulance operators;


          ° CN train engineers and yard dispatchers;


          o   Aircraft surveillance pilots;


          °   Meta Platforms LiveOps or SDK engineers implicated in persistent unauthorized

              behavioral telemetry;




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  4.   Issue an evidentiary hearing and preservation order directing all Defendants to preserve all

       records, digital traces, server access, and communications related to the above incidents for

       the period January 1, 2025, through present;


  5.   Sanction Defendants pursuant to Rule 37(b) for refusal to disclose required identity and

       infrastructure information, and for spoliation of digital evidence;


  6.   Award Plaintiff compensatory damages of no less than $50,000,000.00 against each

       participating Defendant for constitutional injury, emotional distress, invasion of privacy.

       reputational harm, and enterprise-level retaliation;


  7.   Award punitive damages sufficient to deter future enterprise surveillance against civilians

       and pro se litigants;


  8.   Grant such further relief as may be just and equitable under the circumstances.


VI. CERTIFICATE OF SERVICE




I, Hiran Rodriguez, hereby certify that on this 19th day of April, 2025, a tme and correct copy

of the foregoing Motion to Compel Disclosure of Enterprise Surveillance Infrastructure,

Identify and Terminate Targeted Operators, and for Comprehensive Relief was submitted




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via the Electronic Document Submission System (EDSS) of the United States District Court

for the Eastern District of Louisiana. Pursuant to Federal Rule of Civil Procedure 5(b)(2)(E)


and Local Rule 5.4, notice of this fihng will be electronically served via CM/ECF to all counsel

of record who have appeared in this matter.




Respectfiilly submitted this 19th day of April, 2025,



   (7

/s/ HIRAN RODRIGUEZ


HIRAN RODRIGUEZ, Sui Juris

Pro Se Plaintiff

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Without Prejudice Without Recourse




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Preserving All Claims for Judicial Misconduct, Procedural Irregularity, and Constitutional Injury

Under 28 U.S.C. §§ 144,455, and 351; and reserving all rights to appeal, object, and seek

sanctions under Rule 11, Rule 55, Rule 60(b), and Article III.




No Joinder to any corporate, commercial, administrative, or inferior jurisdiction.

No tacit agreement presumed; no consent granted where none is explicitly expressed.




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VIL EXfflBIT mDEX




       Exhibit                      Title                            Description
 A - (Rec;Doc. *
!31-1)

 B - (Rec. Doc. f
AO-3)             Psychological Warfare,            iNafrative and photographic documentation i
                  Retaliation, and Defamation       mf pattern-based retaliation and harm.
Rec. Doc. 91


;A-(Rec. Doc.
; 130-1) ^
RVMP^OOl          ^
to
RVMP-0002          : Meta SDK Telemetry &           |HAR logs, outbound sessions, WebSocket,
                  : Streaming Evidence              ; and endpoint analysis.
D-ltoDA
                      Ambulance Surveillance -      iPhotos and timeline of unauthorized
!E-2                  LCMCUnit#156                   iproximity by LCMC emergency vehicle.           !
;F (filed under       Sex Offender Defamation        i Evidence of targeted reputational injury
Seal)                                               ’ and related psychological damage.
:R.eC.Doc. 80         iCNEngine#5673-March          iPhotoMdeo evidence of ni^ttime rail
                      12-13, 2025                   'harassment tied to Doe Defendants. ,
                      Aircraft Surveillance Patterns i Screenshots and ADS-B telemetry of low- ■
I
                       N16362, MOJO30               ; altimde aerial targeting events,
                                                     j Court-filed notification of shared yideo/
                                                     audio archive with all counsel of record

                      Notice of Submission of       ‘titled “Ongoing Evidence of Noise
iRec. Doc.108         Surveillance Evidence          Harassment and Surveillance - March,
                      (OneDrive Folder)
                                                    h025” https://ldrv.ms/a/c/:
                                                    i243992343779c7c4/                               ;
                                                    ‘ Evztift^fXCRBscVzHdNVPOwBeuPfblks ’
                                                     ipf6ven2us96Hzw
                      Timestamped record of         j Retaliation, Enterprise Intimidation, and
G-l                                                 i failure to act by Jefferson Parish Sheriff’s i
                      retaliatory pattern           i Office. 911 callJ^il 14, 2025)
                                                             Real-time surveillance-based
                      Audio-Visual Evidence of
;G-2                                                         retaliation following protected j
                      Retaliatory Train Horn
                                                             legal action and law
                      Assault (April 14, 2025)
                                                           V enforcement notification




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